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Fn.sb ay
IN THE UNITED S'I‘ATES DISTRICT COURT " '-- D-C-
FOR THE wESTERN DISTRICT oF TENNESSEE USAUG
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WOMQQ g gram
"'Y"§f.’?§. U»S» ’?-*W`M‘rco¢m
X '.-’.1-’ §§ ‘.;~,-‘l _;:.L':MPMS
sHERRYE N. WHEELER, x
X
Plaintiff, X
X
vs. X NO. 00-2616-Ml
X
MEMPHIS/SHELBY COUNTY HEALTH X
DEPARTMENT, X
X
Defendant. X
X

 

ORDER STRIKING IRREGULAR FILINGS
AND
ORDER DIREC'I‘ING CLER.K NOT TO ACCEPT ANY FILINGS
IN THIS CLOSED CASE

 

Plaintiff Sherrye N. Wheeler commenced a civil action
pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000e §§ §§g;, on July 13, 2000. The complaint alleged racial and
sexual discrimination in the form of a hostile work environment and
retaliation. A jury trial commenced on February 6, 2003. At the
conclusion of the plaintiff's proof on February 10, 2003, the Court
directed a verdict for the defendant on the sex discrimination
claim. The jury returned a verdict for the defendant on the
remaining claims on February 12, 2003. Judgment was entered on
February 13, 2003. Plaintiff's appeal was dismissed for want of
prosecution. Wheeler v. Memphis/Shelbv Countv Health Dep't, No. 03~

5418 (6th Cir. OCt. 15, 2003).

This document entered on the docket h et In compliance
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Commencing on June 30, 2005, plaintiff filed numerous
documents in this closed case. On June 30, 2005, plaintiff filed a
motion for immediate injunctive relief in connection with “the
willful, deliberate conversion of [her] Pension & [her] Trust
Entitlement.” The attachments concern a lump-sunl distribution
plaintiff received from the Shelby County retirement plan in 2002
in the amount of 315,219.11. On June 30, 2005, plaintiff also filed
a letter to Shelby County Mayor A.C. Wharton attaching various
documents, a memorandum in support of a nmtion for a temporary
injunction, and a supplement to a motion for leave to file a
supplemental complaint. The latter two documents were originally
filed in the Chancery Court of Tennessee for the Thirtieth Judicial
District at Memphis in the case of Sherrve N. Wheeler v. Waverlv
Steward, Shelbv Countv Retirement Svs. Bd. of Admin. A ND [sic]
Trust, Shelbv Countv, Tennessee, Retirement Svs., & Shelbv Countv,
Tennessee, No. CH 01-1995-2 on February 15, 2002 and January 9,
2002, respectively.

On July 7, 2005, plaintiff filed (i) a document entitled
“Memorandun\in Support of Injunctive Relief Motion,” which consists
of a series of documents, including a thirteen*page letter to the
Shelby County Retirement and Trust Board, concerning the effect of
a maternity leave on her retirement benefits; and (ii) a document
entitled “Memorandunl in Support of Rule 60(b) Motion,” which
actually consists of two volumes of documents, including forty-one

(41) pages of narrative, concerning the arrest and prosecution (or

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nonprosecution, as the case lnay Ibe) of Percy' Roberts forl his
alleged assaults on the plaintiff.

On July 8, 2005, plaintiff filed a document, entitled
“Motion and Memorandum in Support of Granting the Removal of Pre-
Emtive [sic] Filed Motion and Memorandum in Support Injunctive
Relief Filed and Granting Removal Memorandum In Support of Rule 60
Motion,” which seems to be a request to disregard her previous
filings.

On July 15, 2005, plaintiff filed a thirty-one page,
single-spaced document entitled “Memorandum in Support of
Injunctive Relief,” accompanied by approximately three inches of
documents, that seems to concern her retirement payment and
something about her great-uncle’s estate. The three volumes of
supporting documents concern, respectively, (i) plaintiff’s dispute
with the Shelby County Retirement Board; (ii) an action alleging
racial discrimination that plaintiff filed in the Shelby County
Chancery Court in 1998 against her former employer, the
Memphis/Shelby County Health Department; and (iii) documents from
the Shelby' County Probate Court concerning the estate of the
Reverend Leamon Dan Jones, who is apparently plaintiff’s great-
uncle.

On July 22, 2005, plaintiff filed a thirty-four page,
single-spaced document, entitled “Memorandum in Support of
Injunctive Relief,” concerning her dispute with the Shelby County
Retirement Board, the probate of her great-uncle’s estate, and

various other matters. The document purports to detail some sort of

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a conspiracy between the attorneys involved in this employment
discrimination case that somehow affected the plaintiff’s other
legal disputes.l

On July 25, 2005, plaintiff filed two documents, the
first entitled “Notice of Hearing for Relief,” and the second
entitled “Memorandum in Support of Injunctive Relief Hearing." The
second document is largely incomprehensible, stating, in pertinent
part, as follows:

On Saturday, July 23, 2005, I visited the library and
discovered, that prior to 1986, Sherrye Nelson Wheeler
was an individual, who lived at 1483 Jeannine Street in
Memphis, Tennessee.

Thereafter, in 1987, after being unemployed by Shelby
County Government, the unmarried Sherrye LaShae Nelson,
became a multitude of individual [sic], against her will,
and unbeknownst to her knowledge, until, Saturday, July
23, 2005.

As a result of my independent investigation, I have tried
as hart as I possibly can for truth and settlement, with
all parties, on all matters. However, immediate relief,
is needed as a result of horrifying discoveries which
continue, to date. My constitutional rights are being
violated, I seek immediate relief. Please!

 

1 For example, the document states at p. 9: “Wheeler's Attorney,
Coleman Garret [sic] as [sic] acted on Wheeler's behalf without the requisite
authority to do so. Wheeler purchased a copy of the Federal Docket, in case No.
2616 on July 19, 2005, and found that Garret has tracked Wheeler from each and
every location, he has operated. To add further insult to injury, the Federal
distribution list, list the OFFICES, of Coleman Garret. What this means is that
Wheeler has been held to third parties by an attorney she hired to represent her
in a civil matter, who, ostensibly, abandon Wheeler in the service he was hired
to perform. What Wheeler has realized realize [sic] is that the Master
Development Sewer contract with the City of Memphis. Notably, Garret, who has
tracked Wheeler from his offices, is now the owner of said master Sewer contract,
which is the Wheeler property” (emphasis in original); see also id* at 12.
Nothing in the docket sheet for this action supports this allegation. Until his
termination as counsel of record for the plaintiff in 2001, Garrett was on the
distribution list to receive orders and mailings from the clerk.

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Finallyy on. August 8, 2005, plaintiff filed another
document, entitled “Notice for Hearing,” concerning her dispute
with the Shelby County Retirement Board, with various attachments.

The Clerk should not have accepted any of these documents
for filing in this closed case. None of the documents concern the
subject-matter of case no. 00-2616. The plaintiff is not entitled
to use that docket number as a vehicle for prosecuting her numerous
disputes with multiple parties, most of which are entirely
unrelated to the original action. The Clerk is ORDERED to remove
docket numbers 169-84 from the docket and file of this closed case.
Because of the sheer volume of paper involved, it is not
practicable to mail these documents to the plaintiff. Instead, the
Clerk is ORDERED to set these documents aside for a period of
thirty (30) days from the date of entry of this order to afford the
plaintiff an opportunity to retrieve them. If the plaintiff has not
retrieved the documents at the expiration of that period, the Clerk
is authorized to dispose of them.

The Clerk is further ORDERED not to accept for filing any
additional documents in this closed case without prior approval of
a district judge or magistrate judge of this district.

If the plaintiff desires to litigate any of the matters
set forth in her recent filings in federal court, she must commence
a new civil action, under a new docket number, that includes a
complaint filed in accordance with the Federal Rules of Civil
Procedure. Any complaint filed by this plaintiff must comply with

Fed. R. Civ. P. B(a). Nothing in this order should be read as

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either encouraging or discouraging the filing of such a complaint,
as the Court has not reviewed the substance of the plaintiff's
filings and has not considered whether there would be federal
jurisdiction over a properly filed complaint.

IT Is so 0RDERED this w day of August, 2005

nwng

JON PHIPPS MCCALLA
UN ED S'I‘ATES DISTRICT JUDGE

    

 

   

UNITSED`R'TE DISTRICT COURT - W'"ERN DISITRCT OF TENNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 185 in
case 2:00-CV-02616 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Carroll C. Johnson

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Sherrye N. Wheeler
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Honorable J on McCalla
US DISTRICT COURT

